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 6 United States of America

 7

 8                                   IN THE UNITED STATES DISTRICT COURT

 9                                         EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 1:11-CR-00380 AWI
11
                                          Plaintiff,     APPLICATION AND ORDER FOR RESTITUTION
12
                               v.
13
     DARREN RUSSELL HUFFMAN,
14
                                          Defendant.
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18          Pursuant to the Court’s findings and instructions on January 28, 2013, the United States hereby

19 applies for an order requiring the defendant Darren Russell Huffman to pay restitution, jointly and

20 severally, to victim(s) in the above-captioned case in the amount of $4,623.86.

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27   ///

28
      Application/Order for Restitution                  1
                               Case 1:11-cr-00380-DAD Document 72 Filed 02/08/13 Page 2 of 2



 1 Dated: February 6, 2013                                                  BENJAMIN B. WAGNER
                                                                            United States Attorney
 2

 3                                                                          /s/ Grant B. Rabenn
                                                                            GRANT B. RABENN
 4                                                                          Assistant U.S. Attorney
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 7
                                                                    ORDER
 8
                            It is Hereby Ordered that the defendant Darren Russell Huffman to pay restitution, jointly and
 9
     severally, to victim(s) in the above-captioned case in the amount of $4,623.86.
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12 IT IS SO ORDERED.

13 Dated: February 7, 2013
                                                                SENIOR DISTRICT JUDGE
14   DEAC_Signature-END:




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                      Application/Order for Restitution                 2
